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13
                                 UNITED STATES DISTRICT COURT
14
                                EASTERN DISTRICT OF CALIFORNIA
15
     KYLE DEI ROSSI and MARK LINTHICUM,                   Case No. 2:12-CV-00125-TLN-CKD
16   on behalf of themselves and those similarly
     situated,                                            PLAINTIFFS’ NOTICE OF MOTION
17                                                        AND MOTION FOR PRELIMINARY
                                        Plaintiffs,       APPROVAL OF CLASS ACTION
18                                                        SETTLEMENT; MEMORANDUM OF
            v.
                                                          LAW IN SUPPORT; DECLARATION OF
19                                                        L. TIMOTHY FISHER FILED
     WHIRLPOOL CORPORATION,
20                                                        HEREWITH
                                       Defendant.
21                                                        Date: March 24, 2016
                                                          Time: 2:00 p.m.
22                                                        Courtroom: 2 - 15th Floor
23                                                        Judge: Honorable Troy L. Nunley
24

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     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
     CASE NO. 2:12-CV-00125-TLN-CKD
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 1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on March 24, 2016 at 2:00 p.m. before the Honorable
 3   Troy L. Nunley, United States District Court Judge for the Eastern District of California, 501 I
 4   Street, Sacramento, California 95814, Plaintiffs Kyle Dei Rossi and Mark Linthicum, by and
 5   through the undersigned counsel of record, will move and hereby do move, pursuant to Fed. R.
 6   Civ. P. 23(e), for entry of the [Proposed] Order Preliminarily Approving Class Action Settlement
 7   (“Preliminary Approval Order”).
 8          This motion is based on: (1) this Notice of Motion, Motion and Memorandum in support
 9   thereof, (2) the Declaration of L. Timothy Fisher in Support of Motion for Preliminary Approval of
10   Class Action Settlement (the “Fisher Decl.,” filed herewith), (3) the Class Action Settlement
11   Agreement and Release of All Claims, (4) the papers and pleadings on file, and (5) the papers filed
12   by Defendant in support of this motion, and the arguments of counsel at the hearing on the Motion.
13   Dated: February 5, 2016                              Respectfully Submitted,
14                                                        BURSOR & FISHER, P.A.
15

16                                                        By:        /s/ L. Timothy Fisher
                                                                     L. Timothy Fisher
17                                                        BURSOR & FISHER, P.A.
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     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                             i
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                                             Additional Counsel for Plaintiffs
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     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                                                                         v
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                                        MEMORANDUM OF LAW
 1   I.     INTRODUCTION

 2          Plaintiffs Kyle Dei Rossi and Marc Linthicum (collectively, “Plaintiffs”), and Class

 3   Counsel, Bursor & Fisher, P.A. and Faruqi & Faruqi, LLP, (collectively “Class Counsel”),

 4   respectfully submit this memorandum in support of Plaintiffs’ Motion for Preliminary Approval of

 5   Class Settlement (the “Motion”). As detailed below, the proposed settlement is unquestionably

 6   fair, achieves meaningful relief for the Class, and should be preliminarily approved by the Court.

 7          This is a class action suit brought by Plaintiffs on behalf of themselves and all others

 8   similarly situated against Defendant Whirlpool Corporation (“Whirlpool” or “Defendant”) for

 9   selling KitchenAid-brand KSRG25FV** and KSRS25RV** model refrigerators that Plaintiffs

10   allege were mislabeled with the Energy Star logo. On April 28, 2015, this Court certified a class

11   defined as all persons in California who purchased KitchenAid KSRG25FV** and KSRS25RV**

12   model refrigerators that were mislabeled as Energy Star qualified. 4/28/15 Order Granting In Part

13   And Denying In Part Plaintiffs’ Motion For Class Certification, Dkt. No. 160.

14          Plaintiffs have now entered into a settlement with Whirlpool (the “Settlement”) and

15   executed a Class Action Settlement Agreement and Release of All Claims (the “Settlement

16   Agreement”) that encompasses Whirlpool’s KSRG25FV** and KSRS25RV** model refrigerators

17   purchased by California residents in the state of California. Under the terms of the Settlement

18   Agreement, Whirlpool has agreed to pay claimants, at the claimant’s election, either (1) a $55 cash

19   payment, or (2) a 10% rebate applicable towards the purchase price of a new KitchenAid-brand

20   major appliance.

21          As in any class action, the Settlement is subject initially to preliminary approval and then to

22   final approval by the Court after notice to the class and a hearing. Plaintiffs now request this Court

23   to enter an order in the form of the accompanying [Proposed] Order Preliminarily Approving Class

24   Action Settlement, which will:

25                  (1)     Grant preliminary approval of the proposed Settlement;
26                  (2)     Establish procedures for giving notice to members of the
                            Settlement Class;
27
28                  (3)     Approve forms of notice to Settlement Class Members;
     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                               1
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                    (4)     Mandate procedures and deadlines for exclusion requests and
 1
                            objections; and
 2
                    (5)     Set a date, time and place for a final approval hearing.
 3
            The proposed Settlement is fair and reasonable, and it falls within the range of approval.
 4
     Class Counsel has vigorously litigated this action for over four years, engaging in extensive motion
 5
     practice and discovery. Specifically, during that time, Plaintiffs defeated a motion to dismiss,
 6
     obtained certification of a California class of purchasers of the refrigerators at issue, (Dkt. No.
 7
     160), reviewed of over 17,624 pages of documents, and hundreds of additional pages of
 8
     spreadsheet data concerning Defendant’s refrigerators, conducted depositions of Defendant’s
 9
     experts, including Dr. John R. Fessler, Dr. Carol Scott, and Dr. Laurentius Marais. Furthermore,
10
     the Settlement was only reached after extended arms-length negotiations between experienced
11
     attorneys familiar with the legal and factual issues in this case. As a result of these efforts, Class
12
     Counsel is fully informed of the merits of this action and the proposed settlement. Accordingly,
13
     this Court should enter the proposed order granting preliminary approval.
14
     II.    PROCEDURAL BACKGROUND
15
            A.      Pleadings And Motions
16
            On January 17, 2012, Plaintiffs filed their Class Action Complaint, which alleged that
17
     Whirlpool’s KSRG25FV** and KSRS25RV** model refrigerators were mislabeled as Energy Star
18
     qualified in violation of the federal standard for energy efficiency under the National Appliance
19
     Energy Conservation Act of 1987 (“NAECA”). See 42 U.S.C. § 6295(b); 10 C.F.R. § 430.32(a).
20
     Plaintiffs alleged that, although the refrigerators were advertised and marketed as Energy Star
21
     qualified, the refrigerators consumed significantly more energy than stated on the labels and in
22
     advertising. Plaintiffs brought claims for breach of express warranty, breach of the implied
23
     warranty of merchantability, unjust enrichment, violation of the California Consumer Legal
24
     Remedies Act (“CLRA”), violation of the California Unfair Competition Law (“UCL”), and
25
     violation of the California False Advertising Law (“FAL”).
26
            On March 23, 2012, Defendant moved to dismiss Plaintiffs’ complaint and to strike
27
     Plaintiffs’ claim for unjust enrichment. Dkt. Nos. 17, 18. On July 11, 2012, Plaintiffs opposed
28
     both motions (Dkt. Nos. 36, 38), and on August 3, 2012, Defendants submitted its replies in

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 1   support of both motions (Dkt. Nos. 43, 44). On September 14, 2012, the Court granted the motion
 2   to dismiss with leave to amend, except for Plaintiffs’ claim for unjust enrichment, which was
 3   dismissed with prejudice. Dkt. No. 55. The Order on the motion to dismiss also rendered the
 4   motion to strike moot. Id.
 5          On September 25, 2012, Plaintiffs filed their First Amended Class Action Complaint. Dkt.
 6   No. 56. On October 15, 2012, Defendant filed its second motion to dismiss. Dkt. No. 59. On
 7   December 5, 2012, Plaintiffs opposed (Dkt. No. 62), and on January 9, 2013, Defendant submitted
 8   its reply in support of the motion (Dkt. No. 63). On March 28, 2013, the Court again granted
 9   Defendant’s motion to dismiss with leave to amend. Dkt. No. 67.
10          On April 24, 2013, Plaintiffs filed their Second Amended Complaint. Dkt. No. 71. On
11   May 21, 2013, Defendant moved to dismiss the Second Amended Complaint. Dkt. No. 72. On
12   August 5, 2013, Plaintiffs filed their opposition to the motion to dismiss. Dkt. No. 77. On August
13   28, 2013, Defendant submitted its reply in support of the motion to dismiss. Dkt. No. 79. On
14   October 25, 2013, the Court granted in part and denied in part the motion to dismiss. Dkt. No. 81.
15   Specifically, the Court dismissed Plaintiffs’ Breach of Implied Warranty of Merchantability claim
16   and their Magnuson Moss Warranty claim with prejudice.
17          On July 31, 2014, Plaintiffs filed their Motion for Class Certification. Dkt. No. 105.
18   Plaintiffs moved to certify a 32-state and District of Columbia class defined as all persons who
19   purchased KitchenAid KSRG25FV** and KSRS25RV** model refrigerators that were mislabeled
20   as Energy Star qualified (collectively “Refrigerators”). 1 Plaintiffs also sought certification of a
21   subclass defined as all members of the class who purchased the Refrigerators in California. On
22   September 18, 2014, Defendant opposed Plaintiff’s Motion for Class Certification and filed a
23   Motion to Strike the Declaration of Colin B. Weir, Plaintiffs’ expert on damages. Dkt. Nos. 111
24   and 113. On November 24, 2014, Plaintiffs submitted a reply in support of their motion for class
25   certification (Dkt. No. 124) and an opposition to Defendant’s motion to strike the expert report of
26

27   1
      The last two digits of KitchenAid models KSRG25FV** and KSRS25RV**, indicated by **,
28   merely describe their color, e.g., KSRG25FVMS (monochromatic stainless steel), KSRG25FVMT
     (monochromatic satina), KSRG25FVBL (black), and KSRG25FVWH (white-on-white).
     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                                 3
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 1   Colin B. Weir (Dkt. No. 125). On January 8, 2015, Defendant submitted a reply in support of its
 2   motion to strike the Weir report. Dkt. No. 146.
 3           On December 17, 2014, Defendant also moved to strike the rebuttal expert report of
 4   Elizabeth Howlett. Dkt. Nos. 136, 138. On January 2, 2015, Plaintiffs opposed Defendants’
 5   Motion to Strike the Rebuttal Expert Report of Elizabeth Howlett. Dkt. No. 140. On January 8,
 6   2015, Defendant submitted a reply in support of the motion to strike Dr. Howlett’s report. Dkt. No
 7   147.
 8          On April 28, 2015, the Court granted in part and denied in part Plaintiffs’ Motion for Class
 9   Certification. Dkt. No. 160. The Court denied Plaintiffs’ request to certify a nationwide class but
10   granted their request to certify the California subclass. Id. In the same order, the Court denied
11   Defendant’s motions to strike the expert reports of Colin B. Weir and Dr. Elizabeth Howlett. Id.
12          On May 12, 2015, Defendant filed a Petition for Permission to Appeal under Fed. R. Civ. P.
13   23(f). Plaintiffs opposed Defendant’s 23(f) petition on May 22, 2015. The Ninth Circuit denied
14   Defendant’s petition on July 29, 2015. Dkt. No. 163.
15          On October 28, 2015, after extensive negotiations, the Parties executed a binding term
16   sheet, and all pending motions were stayed in anticipation of this motion.
17          B.      Discovery
18          Plaintiffs served their first set of interrogatories and document requests on September 4,
19   2012. Plaintiffs served a second set of document requests on December 23, 2013. Defendant
20   served its interrogatories and requests for production on January 10, 2014. In connection with
21   these requests, the Parties produced documents on a rolling basis, which was substantially
22   completed as of August 19, 2014. In total, Whirlpool produced more than 17,000 pages of
23   documents, and hundreds of additional pages of spreadsheet data.
24          Plaintiffs’ counsel also deposed three of Defendant’s experts. On October 9, 2014,
25   Plaintiffs’ counsel deposed Defendant’s expert, Dr. Marthinus Laurentius Marais. On October 15,
26   2014, Plaintiffs’ counsel deposed Defendant’s expert, Dr. Carol A. Scott. On October 17, 2014,
27   Plaintiffs’ counsel deposed Defendant’s expert, John R. Fessler. On June 9, 2014, Defendant
28   Whirlpool deposed Plaintiff Linthicum. On June 10, 2014, Defendant also deposed Plaintiff Dei

     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                              4
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 1   Rossi. On August 20, 2014, Defendant deposed Plaintiffs’ damages expert, Colin B. Weir. As a
 2   result of this discovery, both Parties are informed about the strengths and weaknesses of their
 3   claims and defenses.
 4           C.     Class Certification
 5           As stated above, a class of California purchasers has already been certified in this action.
 6   For the purposes of the Settlement, Whirlpool recognizes that the Settlement Class has been
 7   certified by the Court and stipulates that it will not challenge, appeal, or otherwise oppose the
 8   Court’s prior order certifying the Settlement Class. Settlement Agreement, Exh. A to Fisher Decl.
 9   § II.
10           D.     Settlement
11           On October 8, 2015, the Parties had an in-person settlement meeting in the New York
12   offices of Bursor & Fisher. Fisher Decl. ¶ 2. Although the Parties were able to assemble
13   preliminary drafts of a binding Term Sheet during the meeting, the Parties were unable to reach
14   any final agreement. Id. Following continued discussions on the content of the term sheet over the
15   subsequent weeks, on October 28, 2015, the Parties executed a binding Term Sheet for Class
16   Settlement. Id.
17           On October 29, 2015, the Parties filed a Joint Status Report notifying the Court that they
18   had executed a binding settlement term sheet. Dkt. No. 167. Accordingly, the Court ordered that
19   the motion for preliminary approval of class action settlement be filed by December 15, 2015. Dkt.
20   No. 168. On December 8, 2015, the Parties requested additional time to file a motion for
21   preliminary approval of the settlement on the grounds that the Parties were continuing to negotiate
22   certain terms of the settlement. Dkt. No. 160. On December 11, 2015, the Court granted the
23   request and set the new deadline to file the motion as January 15, 2016. Dkt. No. 170. On January
24   12, 2016, the Parties requested an additional brief extension to finalize the Settlement Agreement.
25   Dkt. No. 171. On January 14, 2016, the Court granted the request and set February 5, 2016 as the
26   deadline to file a motion for preliminary approval.
27           The Parties finalized the Settlement Agreement on February 1, 2016.
28

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     III.   THE STANDARD FOR PRELIMINARY APPROVAL OF CLASS ACTION
 1          SETTLEMENTS
 2          Approval of class action settlements involves a two-step process. First, the Court must
 3   make a preliminary determination whether the proposed settlement appears to be fair and is “within
 4   the range of possible approval.” In re Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th Cir. 2008); In
 5   re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007); Alaniz v. California
 6   Processors, Inc., 73 F.R.D. 269, 273 (N.D. Cal. 1976), cert. denied sub nom. Beaver v. Alaniz, 439
 7   U.S. 837 (1978). If so, notice can be sent to class members and the Court can schedule a final
 8   approval hearing where a more in-depth review of the settlement terms will take place. See
 9   Manual for Complex Litigation, 3d Edition, § 30.41 at 236-38 (hereafter, the “Manual”). See also
10   Lounibos v. Keypoint Government Solutions Inc., 2014 WL 558675, *5 (N.D. Cal. 2014)
11   (“Preliminary approval of a settlement and notice to the proposed class is appropriate if the
12   proposed settlement appears to be the product of serious, informed, non-collusive negotiations, has
13   no obvious deficiencies, does not improperly grant preferential treatment to class representatives or
14   segments of the class, and falls with the range of possible approval.”) (citations omitted).
15          The purpose of preliminary approval is for the Court to determine whether the Parties
16   should notify the putative class members of the proposed settlement and proceed with a fairness
17   hearing. See In re Tableware Antitrust Litig., 484 F. Supp. 2d at 1079. See also Lounibos, 2014
18   WL 558675, at *5. Notice of a settlement should be disseminated where “the proposed settlement
19   appears to be the product of serious, informed, non-collusive negotiations, has no obvious
20   deficiencies, does not improperly grant preferential treatment to class representatives or segments
21   of the class, and falls within the range of possible approval.” Id. (quoting NEWBERG ON CLASS
22   ACTIONS § 11.25 (1992)).
23          Nevertheless, a review of the standards applied in determining whether a settlement should
24   be given final approval is helpful to the determination of preliminary approval. One such standard
25   is the strong judicial policy of encouraging compromises, particularly in class actions. See In re
26   Syncor, 516 F.3d at 1101 (citing Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615 (9th Cir.
27   1982), cert. denied, 459 U.S. 1217 (1983)).
28

     PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                               6
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                     Beginning with the first [pretrial] conference, and from time to time
 1                   throughout the litigation, the court should encourage the settlement
                     process. The judge should raise the issue of settlement at the first
 2                   opportunity, inquiring whether any discussions have taken place or
                     might be scheduled. As the case progresses, and the judge and
 3                   counsel become better informed, the judge should continue to urge
                     the parties to consider and reconsider their positions on settlement in
 4                   light of current and anticipated developments.
 5   Manual, § 23.11 at 166.
 6          While the district court has discretion regarding the approval of a proposed settlement, it
 7   should give “proper deference to the private consensual decision of the parties.” Hanlon v.
 8   Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998). In fact, when a settlement is negotiated at
 9   arm’s-length by experienced counsel, there is a presumption that it is fair and reasonable. See In re
10   Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Ultimately, however, the Court’s role is
11   to ensure that the settlement is fundamentally fair, reasonable, and adequate. See In re Syncor, 516
12   F.3d at 1100.
13          Beyond the public policy favoring settlements, the principal consideration in evaluating the
14   fairness and adequacy of a proposed settlement is the likelihood of recovery balanced against the
15   benefits of settlement. “[B]asic to this process in every instance, of course, is the need to compare
16   the terms of the compromise with the likely rewards of litigation.” Protective Committee for
17   Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25 (1968).
18   That said, “the court’s intrusion upon what is otherwise a private consensual agreement negotiated
19   between the parties to a lawsuit must be limited to the extent necessary to reach a reasoned
20   judgment that the agreement is not the product of fraud or overreaching by, or collusion between,
21   the negotiating parties, and that the settlement, taken as a whole, is fair, reasonable and adequate to
22   all concerned.” Officers for Justice, 688 F.2d at 625.
23          In evaluating preliminarily the adequacy of a proposed settlement, particular attention
24   should be paid to the process of settlement negotiations. Here, the negotiations were conducted by
25   experienced class-action counsel over an extended period of time after extensive motion practice
26   and discovery. Thus, counsel’s assessment and judgment are entitled to a presumption of
27   reasonableness, and the court is entitled to rely heavily upon their opinion. See In re Netflix
28   Privacy Litig., 2013 WL 1120801, at *4 (N.D. Cal. Mar. 18, 2013) (holding that “[c]ourts have

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 1   afforded a presumption of fairness and reasonableness of a settlement agreement where that
 2   agreement was the product of non-collusive, arms’ length negotiations conducted by capable and
 3   experienced counsel”). Accord Boyd v. Bechtel Corp., 485 F. Supp. 610, 622-23 (N.D. Cal. 1979).
 4          Lastly, whereas here, the settlement was reached after the class was certified by the court,
 5   concerns over potential for collusion are ameliorated and heightened scrutiny of the settlement is
 6   not required. In re Ferrero Litig., 583 F. App'x 665, 668 (9th Cir. 2014).
 7   IV.    TERMS OF THE PROPOSED SETTLEMENT
 8          The proposed settlement class (“Settlement Class” or “Class”) consists of all California
 9   residents who purchased for household use (not for resale) a new KitchenAid model KSRG25FV**
10   or KSRS25RV** refrigerator in the State of California Settlement Agreement, Exh. A to Fisher
11   Decl. §§ I.OO, II. Each Class Member must submit a single proof of claim for each Refrigerator
12   she is making a claim on. Id. § IV.A. The proof of claim shall be signed under penalty of perjury.
13   Id.
14          A.      Relief For Class Members
15          If the proposed Settlement is approved by the Court, Whirlpool has agreed to pay each
16   member of the Settlement Class who submits a valid claim either (1) a $55 cash payment, less any
17   voluntary payment paid by Whirlpool through Whirlpool’s Voluntary Customer Satisfaction
18   Program, or (2) a 10% rebate of the purchase price of a new KitchenAid-brand major appliance.
19          Whirlpool will permit Class Members to choose one of the following Settlement benefits:
20          (1) Cash Option: Whirlpool will provide one cash payment of $55, less any voluntary
21               payment paid by Whirlpool through Whirlpool’s Voluntary Customer Satisfaction
22               Program. Each Class Member is entitled to one cash payment of $55 for each Class
23               Refrigerator that he or she purchased. For example, if a Class Member bought two
24               Class Refrigerators, then that Class Member would be eligible to receive two cash
25               payments of $55 each, less any voluntary payment paid by Whirlpool through
26               Whirlpool’s Voluntary Customer Satisfaction Program; 2 or, in the alternative,
27   2
      If a Class Member has already received compensation through Whirlpool’s Voluntary Customer
     Satisfaction Program, and if that compensation exceeded $55, then such Class Member is not
28   entitled to any cash payment from Whirlpool.

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 1          (2) Rebate Option: Whirlpool will provide a 10% rebate of the purchase price of a New
 2               KitchenAid-brand Major Appliance, without any cap as to the maximum amount of the
 3               rebate, to any member of the Class who submits a valid claim. The rebate for the
 4               purchase of a New KitchenAid-brand Major Appliance will be 10% off the retail
 5               purchase price (not to include sales taxes, delivery fees, and installation charges). Such
 6               rebate shall be in addition to any other sales promotion that Whirlpool or any retailer or
 7               seller offers towards a New KitchenAid-brand Major Appliance. Each Class Member
 8               shall be entitled to one rebate for each Class Refrigerator that he or she purchased. If a
 9               Class Member bought two Class Refrigerators, for example, then that Settlement Class
10               Member would be eligible to receive two rebates.
11   See id. §§ IV. B-C.
12          B.      Release And Discharge Of Claims
13          The Settlement Agreement provides for a specific release of all claims or causes of action
14   that relate to any of the alleged defects, malfunctions, or inadequacies of the Refrigerators that are
15   described and/or alleged in the Second Amended Class Action Complaint in this Action or that
16   could have been alleged in this Action. See also Settlement Agreement, Exh. A to Fisher Decl. §
17   IX. The release will forever terminate this litigation involving Whirlpool and the Plaintiffs in this
18   Action, once the Settlement becomes effective as defined in the Settlement Agreement.
19          C.      Payment Of Attorneys’ Fees And Expenses
20          The Parties have agreed to negotiate in good faith concerning the award of attorneys’ fees
21   and costs to be paid by Whirlpool to Class Counsel. Id. § VIII. If the Parties are unable to reach
22   an agreement on an amount of attorneys’ fees and costs, Plaintiffs will move for an award of
23   attorney’s fees, and Whirlpool will then have the opportunity to oppose that motion. In any event,
24   the amount of attorneys’ fees and costs to be paid to Class Counsel will be subject to Court
25   approval and will be paid separate and apart from any amounts to be paid to the Class.
26          D.      Compensation For The Class Representatives
27          In addition to the individual relief discussed above, Whirlpool has also agreed to pay
28   incentive awards to the Class Representatives, Marc Linthicum and Kyle Dei Rossi, in the amount

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 1   of $4,000 each. Id. § VIII.D.
 2          E.      Payment Of Notice And Administrative Fees
 3          Whirlpool shall pay directly to the administrator handling the administration of the
 4   Settlement the reasonable costs and expenses of providing notice to the Class in accordance with
 5   the Settlement Agreement. 3 Id. § V.
 6   V.     THIS COURT SHOULD PRELIMINARILY APPROVE THE SETTLEMENT,
            PROVISIONALLY CERTIFY THE CLASS, AND ENTER THE PROPOSED
 7          PRELIMINARY APPROVAL ORDER
 8          A.      The Settlement Should Be Preliminarily Approved Because It
                    Satisfies Accepted Criteria
 9
            It is well established that the law favors the compromise and settlement of class action
10
     suits: “[S]trong judicial policy favors settlements ...” Churchill Vill., L.L.C. v. GE, 361 F.3d 566
11
     (9th Cir. 2004) (original ellipsis omitted). This is particularly true where “class action litigation is
12
     concerned.” Class Plaintiffs v. Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).
13
            The approval of a proposed settlement of a class action is a matter of discretion for the trial
14
     court. In re Veritas Software Corp. Sec. Litig., 496 F.3d 962, 972 (9th Cir. 2007) (“[T]he district
15
     court has substantial discretion in approving the details of a class action settlement.”). Courts,
16
     however, must give “proper deference to the private consensual decision of the parties” since “the
17
     court’s intrusion upon what is otherwise a private consensual agreement negotiated between the
18
     parties to a lawsuit must be limited to the extent necessary to reach a reasoned judgment that the
19
     agreement is not the product of fraud or overreaching by, or collusion between, the negotiating
20
     parties, and the settlement, taken as a whole, is fair, reasonable and adequate to all concerned.”
21
     Hanlon, 150 F.3d at 1027. Accord, Fed. R. Civ. P. 23(e)(2) (stating that a settlement must be “fair,
22
     reasonable, and adequate”).
23
            To grant preliminary approval of this class action Settlement, the Court need only find that
24
     the Settlement falls within the range of possible approval. See, e.g., Livingston v. Toyota Motor
25
     Sales USA, 1995 U.S. Dist. LEXIS 21757, at *24 (N.D. Cal. 1995) (“The proposed settlement must
26

27   3
       Notice costs also include notification of the Attorney General of the United States and the
     attorney general of each state where Class Members reside in accordance with the Class Action
28   Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715(b).

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 1   fall within the range of possible approval.”); see also Alba Conte and Herbert Newberg, 4
 2   NEWBERG ON CLASS ACTIONS § 11.25 (4th ed. 2002). The Manual for Complex Litigation,
 3   § 21.632 (4th ed. 2004) characterizes the preliminary approval stage as an “initial evaluation” of
 4   the fairness of the proposed settlement made by the court on the basis of written submissions and
 5   informal presentation from the settling Parties.
 6             Here, as shown below, the Settlement should be preliminarily approved. It falls “within the
 7   range of possible approval” because it is non-collusive, fair, and reasonable. Alaniz¸ 73 F.R.D. at
 8   273. As detailed above, the Settlement will provide Settlement Class Members with either (1) a
 9   $55 cash payment, or (2) a 10% rebate of the purchase price of a new KitchenAid-brand major
10   appliance. At the same time, the Settlement eliminates the substantial risk and delay of litigation.
11   Although Plaintiffs believe their claims have merit, they recognize that Whirlpool will present a
12   vigorous defense, and that there is no assurance that the class would prevail at trial. By settling,
13   Plaintiffs and the Class avoid the risk that they will not recover at all, as well as the delays and
14   perils of a lengthy trial and appellate process. The Settlement will provide Class Members with
15   certain benefits, and it will avoid the obstacles that might have prevented them from obtaining
16   relief.
17             In light of the relief obtained, the magnitude and risks of the litigation and the legal
18   standards set forth above, the Court should allow notice of the settlement to be sent to the
19   Settlement Class so that Class Members can express their views on it. The Court should conclude
20   that the Settlement’s terms are “within the range of possible approval.” Id.
21             B.     The Proposed Settlement Class Should Be Certified
22             The Settlement Class consists of all end-user California residents who purchased for
23   household use (not for resale) a new KitchenAid model KSRG25FV** or KSRS25RV**
24   refrigerator in the State of California. April 28, 2015 Order Granting In Part And Denying In Part
25   Plaintiffs’ Motion For Class Certification, Dkt. No. 160. Where the court has previously certified a
26   class under Fed. R. Civ. P. 23(b)(3), the court need not analyze whether the requirements for
27   certification have been met and may focus instead on whether the proposed settlement is fair,
28   adequate and reasonable. See Adoma v. Univ. of Phoenix, Inc., 913 F. Supp. 2d 964, 974 (E.D. Cal.

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 1   2012); Harris v. Vector Mktg. Corp., 2012 WL 381202, at *3 (N.D. Cal. Feb. 6, 2012) (“As a
 2   preliminary matter, the Court notes that it previously certified . . . a Rule 23(b)(3) class . . . [and
 3   thus] need not analyze whether the requirements for certification have been met and may focus
 4   instead on whether the proposed settlement is fair, adequate, and reasonable.”); In re Apollo Group
 5   Inc. Securities Litigation, 2012 WL 1378677 at *4 (D.Ariz. Apr. 20, 2012) (“The Court has
 6   previously certified, pursuant to Rule 23 of the Federal Rules of Civil Procedure, and hereby
 7   reconfirms its order certifying a class.”). As this Court has already certified a class (April 28, 2015
 8   Order Granting In Part And Denying In Part Plaintiffs’ Motion For Class Certification, Dkt. No.
 9   160), the Court need not again assess whether the requirements for class certification have been
10   met for purposes of preliminary approval. 4 See id. Accordingly, the Court need not again assess
11   whether the requirements for class certification have been met for purposes of preliminary
12   approval. See id.
13           C.      The Proposed Notice Program Constitutes Adequate Notice And
14                   Should Be Approved
             Once preliminary approval of a class action settlement is granted, notice must be directed to
15
     class members. For class actions certified under Rule 23(b)(3), “the court must direct to class
16
     members the best notice that is practicable under the circumstances, including individual notice to
17
     all members who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). In
18
     addition, Rule 23(e)(1) applies to any class settlement and requires the Court to “direct notice in a
19
     reasonable manner to all class members who would be bound by a proposal.” Fed. R. Civ. P.
20
     23(e)(1).
21
             The proposed notice program here, which informs the Settlement Class of their rights and
22
     includes a comprehensive plan for delivery of notice by U.S. postal mail, e-mail, and Internet
23

24
     4
       The Settlement Class is defined to mean all residents of the State of California who (a) bought a
25   new Class Refrigerator, (b) acquired a Class Refrigerator as part of the purchase or remodel of a
     home, or (c) received as a gift, from a donor meeting the requirements of either subsection (a) or
26   subsection (b), a new Class Refrigerator not used by the donor or by anyone else after the donor
     bought or acquired the Class Refrigerator and before the donor gave the Class Refrigerator to the
27   California resident. This slightly modifies the class definition set forth in the Court’s order to
     include people who acquired a Class Refrigerator as part of the purchase or remodel of a home or
28   received a Class Refrigerator as a gift.

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 1   publication, constitutes the best notice practicable under the circumstances of this case. By the
 2   terms of the Settlement, there are both “Prequalified Class Members” and “Non-Prequalified Class
 3   Members.” Settlement Agreement, Exh. A to Fisher Decl. at §§ I.U, I.BB; id. at Exh. 2 to
 4   Settlement Agreement (“Prequalified Notice”). “Prequalified Class Members” are defined as
 5   “Class Members who can be identified in Whirlpool’s or the Retailers’ databases as having bought
 6   a Class Refrigerator.” Id. at § I.BB. “Non-Prequalified Class Members” are defined as “Class
 7   Members who cannot be identified in Whirlpool’s or the Retailers’ databases as having bought a
 8   Class Refrigerator.” Id. at § I.U. The Parties expect that they will be able to identify more than
 9   80% of the Class Members and provide direct mail or email notice to those Class Members. Fisher
10   Decl. ¶ 3.
11           Furthermore, the Notices accurately inform Class Members of the salient terms of the
12   Settlement Agreement, the Settlement Class to be certified, the final approval hearing and the
13   rights of all parties, including the rights to file objections and to opt out of the class. The Parties in
14   this case have created and agreed to perform the following forms of notice, which will satisfy both
15   the substantive and manner of distribution requirements of Rule 23 and Due Process. See Exhs. 1-
16   4 to the Settlement Agreement.
17           U.S. Mail Notice: A notice substantially in the form attached as Exhibit 2 to the Settlement
18   Agreement shall be sent to any Prequalified Class Member. For any such notice returned by the
19   U.S. Postal Service as undeliverable, Class Counsel shall update such Class Member’s address
20   using available U.S. Postal Service change-of-address information and shall re-mail any such
21   returned notice within ten (10) days of return, to any updated address.
22           E-mail Notice: A notice substantially in the form attached as Exhibit 2 to the Settlement
23   Agreement, shall be e-mailed to the last known e-mail address of any Prequalified Class Member.
24           Internet Notice: The Parties will post a copy of the Notice on a website to be maintained
25   by a settlement administrator that will contain the settlement documents, an online proof of claim
26   form, a list of important dates, and any other information to which the Parties may agree. See Exh.
27   1 to Settlement Agreement (claim form).
28

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 1          Publication Notice: To the extent necessary, the Parties shall supplement the direct notice
 2   by developing a proposal for publication notice. Because Defendant will be able to obtain well
 3   over 80% of the Class Members’ direct contact information from its retailers, Defendant will
 4   consult with the Settlement Administrator to determine if additional publication notice is
 5   necessary.
 6          This proposed method of giving notice (similar if not identical to the method used in
 7   countless other class actions) is appropriate because it provides a fair opportunity for members of
 8   the Settlement Class to learn about the Settlement Agreement and to make an informed decision
 9   regarding the proposed Settlement. Thus, the notices and the procedures embodied in the notices
10   amply satisfy the requirements of due process. Defendant shall pay directly to a settlement
11   administrator the reasonable costs and expenses of providing notice to the Class in accordance with
12   the Settlement Agreement.
13   VI.    CONCLUSION
14          For the foregoing reasons, Plaintiffs respectfully request that the Court grant preliminary
15   approval to the Settlement Agreement, approve the proposed notice plan and enter the Preliminary
16   Approval Order in the form submitted herewith.
17

18   Dated: February 5, 2016                              BURSOR & FISHER, P.A.
19
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